                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

TENNESSEE EQUALITY PROJECT                             )
FOUNDATION, INC.                                       )       Case No. 3:23-cv-01044
                                                       )       Chief Judge Crenshaw
 v.                                                    )       Magistrate Judge Holmes
                                                       )
CITY OF MURFREESBORO,                                  )
TENNESSEE et al.                                       )

                                            ORDER

       Pursuant to the Court’s order of October 16, 2023 (Docket No. 10), a telephonic case

management conference was held on October 17, 2023, to discuss scheduling and other matters

related to Plaintiff’s motion for a preliminary injunction. (Docket No. 8.) Counsel participating

were: Michael Robotti, Jacquelyn Schell, Alex Little, Lucas Cameron-Vaughn, and Jeff Preptit

for Plaintiff; Robert Burns and Samantha Burnett for Defendants City of Murfreesboro, City

Council of Murfreesboro and the individual City officials in their official capacities; and, Kristin

Berexa and Cassandra Crain for Defendant Craig Tindell in his individual capacity. 1 From

discussion during the case management conference, it appears that there is a reasonable prospect

of an agreed-upon resolution of the issues raised in Plaintiff’s motion that relate specifically to

the BoroPride Festival event scheduled for October 28, 2023. Accordingly, the following is

ORDERED:

       1.      The attorneys for the parties must continue their efforts to reach a resolution of

the issues raised in Plaintiff’s motion in connection with the BoroPride Festival event scheduled



       1
        Ms. Berexa and Ms. Crane have not yet been retained to represent Defendant Shane
McFarland in his individual capacity but anticipate a likelihood of that additional representation.
Because it was clarified by Plaintiff’s counsel that no preliminary injunctive relief is being
sought against the City officials in their individual capacities, the lack of appearance on behalf of
Defendant McFarland in his individual capacity does not affect the outcome.


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for October 28, 2023. Further, the parties must be available for conference with their respective

attorneys for the entire duration of the attorneys’ discussions.

       2.      A status conference will be held on Thursday, October 19, 2023, at 10:00 a.m.

(CT), using the Court’s conference line at 1-877-402-9753, access code 3808663#, for the

attorneys to update the Court on the status of their efforts to reach a resolution or, in the absence

of a resolution, for the Court to set a briefing and hearing schedule on Plaintiff’s motion.

         It is SO ORDERED.



                                              ____________________________________
                                              BARBARA D. HOLMES
                                              United States Magistrate Judge




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